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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                            Civil Action No. 1:17-CV-2989-AT
v.

BRIAN KEMP, ET AL.,
Defendants.

     ORDER ON DEFENDANTS’ MOTION TO STAY PROCEEDINGS

      The Motion to stay all pre-trial and trial proceedings pending appeal,

having been duly considered, is hereby DENIED.


      IT IS SO ORDERED this _____________ day of September, 2018.




                               U.S. District Court Judge Amy Totenberg
